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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SUNIL BHATIA, individually, and
derivatively on behalf of MEDVALUE
OFFSHORE SOLUTIONS, INC.,                              Case No. 18 CV 2387

       Plaintiffs,

v.
                                                       Judge Dow
RAJU VASWANI, an individual, KARAN
VASWANI, an individual, MV
OUTSOURCING, INC., an Illinois
Corporation,

       Defendants.


                             JOINT INITIAL STATUS REPORT

       NOW COME Plaintiff/Counter-Defendant, Sunil Bhatia, individually and derivatively on

behalf of MedValue Offshore Solutions, Inc., Defendant/Counter-Plaintiff/Third-Party Plaintiff,

Raju Vaswani, individually and derivatively on behalf of MedValue Offshore Solutions, Inc.,

Defendants, Karan Vaswani and MV Outsourcing Inc., and Third-Party Defendant, Varsha

Bhatia, by and through their undersigned counsel, and for their Joint Initial Status Report, state

as follows:

       I.      The Attorneys of Record for Each Party, including the Attorney(s) Expected
               to Try the Case

       For Plaintiff/Counter-Defendant, Sunil Bhatia (“Sunil”), individually and derivatively on

behalf of MedValue Offshore Solutions, Inc., and Third-Party Plaintiff, Varsha Bhatia

(“Varsha”):

Michael I. Leonard, lead trial counsel
Madelaine Thomas
LeonardMeyer LLP
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120 North LaSalle, Suite 2000
Chicago, Illinois 60602

       For    Defendant/Counter-Plaintiff/Third-Party    Plaintiff,    Raju   Vaswani   (“Raju”),

individually and derivatively on behalf of MedValue Offshore Solutions, Inc.:

Thomas A. Christensen, lead trial counsel
Jenna N. Wadulak
Huck Bouma PC
1755 S. Naperville Rd., Suite 200
Wheaton, Illinois 60189

       For Defendants, Karan Vaswani (“Karan”) and MV Outsourcing, Inc. (“MV

Outsourcing”):

Timothy D. Elliott, lead trial counsel
Christopher R. Claybough
Rathje & Woodward LLC
300 East Roosevelt Road, Suite 300
Wheaton, Illinois 60187

       II.       The Basis for Federal Jurisdiction

       Sunil alleges that this Court has exclusive jurisdiction under 28 U.S.C. § 1331, because

he, individually and derivatively on behalf of MedValue Offshore Solutions, Inc., is asserting a

single claim under the Lanham Act, 15 U.S.C. § 1125(a) (Count I), and that this Court also has

supplemental jurisdiction over the remaining state claims (Counts II-VIII) pursuant to 28 U.S.C.

§ 1367(a). Raju disputes the existence of supplemental jurisdiction.

       III.      The Nature of the Claims Asserted in the Complaint and any Counterclaim

       This matter is a re-filing of a state court case that was voluntarily dismissed by Sunil.

Sunil and Raju are shareholders of MedValue Offshore Solutions, Inc. (“MedValue”). Sunil has

asserted claims, individually and derivatively on behalf of MedValue, against Raju, Karan and

MV Outsourcing.




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       The gist of Sunil’s claims is that Raju, in conjunction with his son, Karan, has, inter alia,

allegedly usurped MedValue’s intellectual property and data, and converted and usurped its

business opportunities. The Defendants deny the material allegations.

       Raju, individually and derivatively on behalf of MedValue, has asserted counterclaims

against Sunil, and claims against Varsha, alleging, inter alia, that Sunil along with his wife,

Varsha, has misused MedValue resources for his real estate business and otherwise usurped

MedValue’s intellectual property.         Sunil and Varsha deny the material allegations.

       In addition, there is a dispute between Sunil and Raju with respect to their respective

ownership interests in MedValue. There is also a dispute between Sunil and Karan and MV

Outsourcing. Sunil contends that a business operated by Karan (which used to be called MV

Outsourcing) wrongly usurped MedValue’s intellectual property.

       IV.     The Name of any Party who or which has not been Served, and any Fact or
               Circumstance related to Non-Service of Process on Such Party.

       None.

       V.      The Principal Legal and Factual Issues

       The extent to which any party has converted or misused MedValue’s resources or

intellectual property, the respective ownership interests of Sunil and Raju in MedValue, and the

amount of damages, if any, suffered by Sunil.

       VI.     Whether a Jury Trial has been Demanded by any Party

       Sunil has requested a trial by jury.

       VII.    The Status of Discussions Involving Mandatory Initial Discovery Responses,
               including any Resolved and Unresolved Issues regarding it

       The parties are working to complete their respective Mandatory Initial Discovery

Responses, but have not to date had any discussions relating to same.




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       VIII. A Short Description of any Discovery Taken To-Date and Anticipated in the
             Future

       No discovery has been completed to date.        The parties anticipate written and oral

discovery. The number of depositions expected is undetermined at this time. The parties have

not determined whether expert witness testimony is expected.

       The parties propose the following discovery schedule:

       A. Initial party written discovery to be propounded by July 15, 2018; and,

       B. All fact discovery to be completed by March 1, 2019.

       Sunil and/or Varsha may be filing a motion or partial motion to dismiss certain of the

counterclaims. Raju may be filing a motion based upon jurisdictional issues. The parties may

file summary judgment motions, and Karan anticipates filing a motion for summary judgment at

or near the outset of fact discovery.

       IX.     The Earliest Date the Parties would be Ready for Trial and the Estimated
               Length of Trial

       The parties have not yet determined the earliest date they would be ready for trial or the

estimated length of such trial.

       X.      Whether the Parties Unanimously Consent to Proceed before the Magistrate
               Judge

       The parties do not consent to proceed before the Magistrate Judge.

       XI.     The Status of any Settlement Discussions

       The parties have not engaged in substantive settlement discussions.

       XII.    Whether the Parties Request a Settlement Conference

       Raju, Karan and MV Outsourcing request a settlement conference at the earliest possible

opportunity.




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                                  RESPECTFULLY SUBMITTED,

                                  By:s/Michael I. Leonard
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                                     Madelaine Thomas
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                                     Chicago, Illinois 60602

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                                      Thomas Andrew Christensen
                                      Jeanna Nicole Wadulak
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                                  By:s/Timothy D. Elliott
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                        CERTIFICATE OF FILING AND SERVICE

        I, Jenna N. Wadulak, certify as follows under penalty of perjury this 8th day of June,
2018:

        1.     I filed the Joint Initial Status Report by filing it with the Clerk of the Court via
               electronic means on June 8, 2018.

        2.     I served all parties of record by filing the aforementioned document with the
               Clerk of the Court via electronic means, which electronic filing constitutes service
               by virtue of local rule 5.9

        3.     I made the electronic filing on June 8, 2018.

                                                     /s/Jenna N. Wadulak




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